                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF WISCONSIN


JOHN DOE, FATHER DOE, and
MOTHER DOE,

                      Plaintiffs,

       v.                                                     Case No. 22-CV-01333

ST. JOHN’S NORTHWESTERN
MILITARY ACADEMY, INC., et al.,

                      Defendant.


                                             ORDER


       This matter coming before the Court on Plaintiffs’ Motion to Proceed Anonymously,

pursuant to Eastern District of Wisconsin Local Rule 10(c), the Court being fully advised in the

premises,

IT IS HEREBY ORDERED:


   1. Plaintiffs to proceed anonymously in this matter under the fictious names “John Doe,”
      “Father Doe,” and “Mother Doe” in order to maintain and protect the privacy of John Doe,
      a victim of child sexual abuse.

   2. All Parties to use the same fictious names to refer to Plaintiffs in all public filings with the
      Court, and to further refrain from disclosing publicly the actual names and any personal
      identifying information of Plaintiffs.


                                              ENTERED:



       January 31, 2023                       /s/Lynn Adelman
          Date                                Hon. Lynn Adelman




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